Case: 21-2066      Document: 100            Page: 1       Filed: 06/27/2023




           NOTE: This order is nonprecedential.


    United States Court of Appeals
        for the Federal Circuit
                      ______________________

    PRIMESOURCE BUILDING PRODUCTS, INC.,
              Plaintiff-Appellee

                                     v.

     UNITED STATES, JOSEPH R. BIDEN, JR.,
  PRESIDENT OF THE UNITED STATES, GINA M.
  RAIMONDO, SECRETARY OF COMMERCE, TROY
    MILLER, ACTING COMMISSIONER OF U.S.
  CUSTOMS AND BORDERPROTECTION, UNITED
  STATES CUSTOMS AND BORDER PROTECTION,
         DEPARTMENT OF COMMERCE,
              Defendants-Appellants
             ______________________

                            2021-2066
                      ______________________

    Appeal from the United States Court of International
 Trade in No. 1:20-cv-00032-TCS-JCG-MMB, Senior Judge
 Timothy C. Stanceu, Judge Jennifer Choe-Groves, Judge
 M. Miller Baker.

                ---------------------------------------------

    OMAN FASTENERS, LLC, HUTTIG BUILDING
        PRODUCTS, INC., HUTTIG, INC.,
              Plaintiffs-Appellees

                                     v.

      UNITED STATES, JOSEPH R. BIDEN, JR.,
Case: 21-2066     Document: 100    Page: 2   Filed: 06/27/2023




 2                 PRIMESOURCE BUILDING PRODUCTS, INC.   v. US
   PRESIDENT OF THE UNITED STATES, UNITED
  STATES CUSTOMS AND BORDER PROTECTION,
  TROY MILLER, ACTING COMMISSIONER OF U.S.
      CUSTOMS AND BORDER PROTECTION,
      DEPARTMENT OF COMMERCE, GINA M.
     RAIMONDO, SECRETARY OF COMMERCE,
              Defendants-Appellants
             ______________________

                         2021-2252
                   ______________________

    Appeal from the United States Court of International
 Trade in Nos. 1:20-cv-00037-TCS-JCG-MMB, 1:20-cv-
 00045-TCS-JCG-MMB, Senior Judge Timothy C. Stanceu,
 Judge Jennifer Choe-Groves, Judge M. Miller Baker.
                 ______________________

                       ON MOTION
                   ______________________

       Before TARANTO, CHEN, and STOLL, Circuit Judges.
 PER CURIAM.
                         ORDER
    PrimeSource Building Products, Inc. moves to stay is-
 suance of the mandate.
     Upon consideration thereof,
     IT IS ORDERED THAT:
     The motion is denied.


                                        FOR THE COURT

  June 27, 2023                         /s/ Jarrett B. Perlow
     Date                               Jarrett B. Perlow
                                        Acting Clerk of Court
